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                             EXHIBIT A
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         SUPREME COURT OF THE STATE OF NEW YORK
         COUNTY OF KINGS
         -------------------------------------------------------------------X
             SMILE FOR KIDS, INC. d/b/a S4K                                     INDEX NO.:
             ENTERTAINMENT GROUP,
         :
                                              Plaintiff,
                       - against -                                              COMPLAINT
             BROOKLYN NETS, LLC,
                                               Defendant.
         ------------------------------------------------------------------X

                  Plaintiff Smile for Kids, Inc. d/b/a S4K Entertainment Group (“S4K”), by its attorneys,

         Oved & Oved LLP, complaining of Defendant Brooklyn Nets, LLC (the “Brooklyn Nets,” or

         “Defendant”), upon information and belief, alleges as follows:

                                                  SUMMARY OF CLAIMS

                  1.      S4K is a licensed ticket broker that sells tickets to entertainment and sporting

         events, including Brooklyn Nets professional basketball games. A significant portion of S4K’s

         revenue is generated by re-selling Brooklyn Nets tickets that S4K purchases from season ticket

         holders who wish to re-sell their tickets to certain games, as is their right under New York law.

                  2.      In violation of New York law, Defendant, along with its affiliate BSE Global

         (“BSE”) has engaged in a pattern and practice of systematically terminating the season ticket

         memberships (“Memberships”) of individual Brooklyn Nets season ticket holders in order to

         prevent those individuals from exercising their resale rights.

                  3.      Defendant is engaging in these unlawful and predatory practices in an attempt to

         destroy the ability of S4K, other ticket brokers, and season ticket holders to re-sell Brooklyn Nets

         tickets. Defendant’s goal is to eliminate competition in the market for Brooklyn Nets tickets, and

         to instead funnel all resales of Brooklyn Nets tickets though its preferred ticket broker and profit-

         sharing partner, Dynasty Sports & Entertainment (“Dynasty”). Dynasty’s co-founder and former




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         President was for many years a Vice President of BSE prior to founding Dynasty, and is currently

         a Senior Vice President of BSE.

                 4.     Defendant essentially seeks to create a monopoly over the resale of Brooklyn Nets

         tickets, which serves to raise the prices that ticket purchasers pay for Brooklyn Nets tickets.

                 5.     To accomplish this goal, Defendant not only relies on its improper termination of

         Memberships, but also the chilling effect that such terminations have on other Brooklyn Nets

         season tickets holders who may also seek to exercise their right to re-sell their tickets, resulting

         from the fear that Defendant will improperly terminate their Memberships as well.

                 6.     Defendant’s actions are in direct violation of the New York Arts and Cultural

         Affairs Law (the “ACAL”), which (i) created a free market for the resale of tickets to sporting and

         arts events; (ii) prohibited venues from revoking individuals’ season tickets based solely on those

         individuals’ resale of those tickets; and (iii) protected the right of resale at any price and through

         any legal medium.

                 7.     Defendant’s unlawful conduct has resulted in severe damage to S4K’s business, as

         well as to the ticket-buying public at large. In addition to monetary damages, S4K seeks equitable

         relief enjoining Defendant from unlawfully terminating the Memberships of Brooklyn Nets season

         ticket holders so as to prevent them from exercising their rights under New York law to re-sell

         their tickets to S4K.

                                                   THE PARTIES

                 8.     S4K is a New York corporation located at 362 Fifth Avenue, New York, New

         York.

                 9.     The Brooklyn Nets, which operates a professional basketball organization that

         competes in the National Basketball Association (“NBA”), is a New Jersey limited liability

         company located at 168 39th Street, Brooklyn, New York, and is authorized to do business in the

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         State of New York.         BSE, an affiliate of the Brooklyn Nets, is located at 168 39th Street,

         Brooklyn, New York, and is authorized to conduct business in the State of New York. BSE owns

         and/or controls the Brooklyn Nets, as well as the venue in which the Brooklyn Nets play home

         basketball games—known as the Barclays Center.

                                              JURISDICTION / VENUE

                   10.   This Court has personal jurisdiction over Defendant pursuant to CPLR 301 because

         Defendant resides within the State of New York.

                   11.   Venue is proper in Kings County pursuant to CPLR 503(a) because Brooklyn Nets,

         LLC resides within Kings County.

                                             FACTUAL ALLEGATIONS

         A.        S4K’s Business

                   12.   S4K is licensed in New York, among other jurisdictions, as a ticket broker and re-

         seller.

                   13.   A significant portion of S4K’s revenue is generated by re-selling tickets to

         individual Brooklyn Nets games. S4K purchases many of the tickets it re-sells from Brooklyn

         Nets season ticket holders, who from time to time wish to re-sell those tickets to others for various

         different reasons, including being unable to attend certain games, disinterest in certain matchups,

         or simply to make a profit on highly in-demand games.

                   14.   By providing this service of re-selling tickets, S4K increases the supply of available

         tickets by allowing tickets that would otherwise go unused to be used, which allows members of

         the public who would otherwise be unable to attend Brooklyn Nets games to attend those games.




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         B.        The ACAL Expressly Protects Season Ticket Holders’
                   Right to Re-Sell Their Tickets to Brokers and Others

                   15.    In 2007, the New York State legislature amended the ACAL in order to, inter alia,

         protect the rights of season ticket holders who chose to re-sell their tickets. The memorandum in

         support of the amendment to the ACAL stated:

                   Recently professional sports teams in New York have placed restrictions on the
                   methods by which their season ticket holders may resell tickets. The venues have
                   used the threat of revocation or in some cases have actually revoked season tickets
                   when fans sold one or more tickets through a medium not authorized by the venues.
                   This legislation would prohibit the venues from revoking season tickets or the
                   contractually agreed upon right of first refusal to purchase future tickets when
                   such revocation is based solely on the basis of resale . . . . It is the intention of
                   this legislation to accommodate the resale of all types of tickets, including single
                   performance, subscription and season tickets in a free and open marketplace.
                   Therefore, this legislation protects the right of resale at any price and through
                   any legal medium.

         New York State Assembly Memorandum in Support of Legislation, Bill No. A7526A (emphasis

         added).

                   16.    In keeping with the intent of the ACAL to protect the rights of ticket re-sellers,

         ACAL § 25.30(1)(a) provides that

                   it shall be prohibited for any operator of a place of entertainment, or operator’s
                   agent, to [r]estrict by any means the resale of any tickets included in a subscription
                   or season ticket package as a condition to purchase, as a condition to retain such
                   tickets for the duration of the subscription or season ticket package agreement, or as
                   a condition to retain any contractually agreed upon rights to purchase future
                   subscription or season ticket packages . . . .

                   17.    The ACAL also requires certain entities engaged in the business of re-selling

         tickets to obtain a license from the State of New York. However, ACAL § 25.03(8) expressly

         exempts from that requirement, inter alia, “any person, firm or corporation which purchases any

         tickets solely for their own use or the use of their invitees, employees and agents.”

                   18.    While operators such as the Brooklyn Nets retain certain ticket revocation rights,

         New York law prohibits them from exercising those rights arbitrarily or capriciously.


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         C.      Defendants’ Unlawful Termination of Individuals’ Season Ticket Memberships

                 19.     Contrary to the letter and spirit of the ACAL, Defendant has engaged in, and

         continues to engage in, a pattern and practice of unlawfully terminating individuals’ Memberships

         in order to prevent those individuals from exercising their right to re-sell certain tickets that they

         are unable to use.

                 20.     Defendant’s pattern and practice includes manufacturing pretextual reasons for

         these unlawful terminations in a thinly-veiled effort to disguise their illegality.

                 21.     The first step in Defendant’s scheme is to send an email to the individual season

         ticket holder who is the target of Defendant’s unlawful termination practices. In these emails,

         Defendant falsely accuses the season ticket holder in question of “violat[ing] New York law by

         reselling [his or her] Brooklyn Nets season tickets without a New York Ticket Reseller License,”

         and threatens to terminate his or her Membership unless he or she provides a copy of his or her

         New York Ticket Reseller License.

                 22.     Such accusations are entirely meritless because the individual season ticket holders

         in question are not required to have a license to re-sell their tickets.

                 23.     Pursuant to Defendant’s unlawful pattern and practice, if the unassuming season

         ticket holder is unable to produce a “New York Ticket Reseller License,” Defendant unlawfully

         terminates the ticket holder’s Membership.

                 24.     If individual season ticket holders respond to Defendant’s false accusations by

         explaining that they do not need to be licensed, or that they sold their tickets to a licensed ticket

         broker, Defendant manufactures a different pretextual basis for termination.

                 25.     By way of example, Defendant will vaguely accuse those individuals of re-selling

         their tickets to a licensed ticket broker “linked to multiple accounts,” and then ignore any and all

         of the individual’s requests for further information.


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                26.     These abrasive attacks on Brooklyn Nets season ticket holders are designed not

         only to unlawfully terminate Memberships, but also to send the chilling message to other season

         tickets holders or potential season ticket holders that they risk the unlawful termination of their

         Memberships in the event they seek to exercise their protected ticket resale rights.

                27.     Regardless of Defendant’s pretexts, their unlawful terminations violate the ACAL,

         which expressly protects individuals’ rights to re-sell their tickets, including to ticket brokers who,

         by the nature of their business, also sell other tickets to Brooklyn Nets games.

                28.     S4K is aware of at least 15 individuals who have resold Brooklyn Nets tickets to

         S4K and have had their Memberships terminated pursuant to the above-described unlawful pattern

         and practice to prevent them from exercising their right to re-sell their Brooklyn Nets tickets to

         S4K.

         D.     Defendant Is Violating the ACAL to Stifle Competition in the
                Market for Brooklyn Nets Tickets at the Expense of Consumers

                29.     Defendant seeks to prevent season ticket holders from exercising their rights to re-

         sell their Brooklyn Nets tickets in order to stifle competition and monopolize the market for

         Brooklyn Nets tickets so that Defendant can exploit its close insider relationship and profit-sharing

         partnership with Dynasty.

                30.     Dynasty is a ticket broker and self-described “[i]ndustry leader in yield

         management and distribution solutions to meet all your ticketing needs.” Dynasty’s co-founder

         and former president was a vice president of Defendant’s affiliate, BSE, for several years prior to

         joining Dynasty. After a four-plus year tenure at Dynasty, that individual left Dynasty and has

         since re-joined BSE as a Senior Vice President.




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                31.     Since as early as 2015, Defendant has been diverting to Dynasty thousands of

         Brooklyn Nets tickets for resale, in apparent contradiction of Defendant’s own policy of limiting

         every other season ticket holder to four tickets each.

                32.     Specifically, Defendant has entered into long-term deals that allow Dynasty to re-

         sell more than four thousand Brooklyn Nets tickets per game (over 25% of the entire capacity of

         the Barclays Center), and maybe many more. Moreover, because Defendant has rights to share

         in Dynasty’s profits from selling Brooklyn Nets tickets, Defendant’s objective is to maximize

         Dynasty’s ticket inventory and prices.

                33.     Defendant has thus unlawfully restricted the ability of S4K and other brokers to re-

         sell Brooklyn Nets tickets on behalf of “multiple” season ticket holders, while at the same time

         granting to Dynasty the ability to re-sell more than a quarter of the Brooklyn Nets tickets available

         for any given game.

                34.     In undertaking the above-described conduct, Defendant is trying to destroy the

         ability of S4K, season ticket holders, and other brokers to participate in the lawful sale of

         Brooklyn Nets tickets, and instead to allow Defendant and Dynasty to collude to monopolize the

         market for Brooklyn Nets tickets so that Defendant can reap as much profit as possible, at the

         expense of consumers and competition in the market.

                35.     As the United States Government Accountability Office has stated, the resale

         market for event ticketing is generally considered to be more competitive than the primary market

         because of the large numbers of brokers participating in the secondary market. Necessarily, if the

         large numbers of brokers are reduced by anti-competitive conduct to a few or even one broker,

         competition in the resale market for tickets is severely curtailed.

                36.     As the American Antitrust Institute has found, relationships between primary ticket

         sellers such as Defendant, and secondary ticket sellers such as Dynasty, can reduce inventory for

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         rival secondary ticket sellers and, in turn, can result in higher fees, as the primary ticket seller

         essentially has a monopoly over both markets.

                 37.     Defendant’s unlawful pattern and practice, as described above, prevents S4K,

         season ticket holders, and other brokers from participating in the market for Brooklyn Nets tickets

         and has the effect of eliminating competition in the market for Brooklyn Nets tickets.

                 38.     Defendant’s severe restraint on competition has the effect of tending to increase

         prices in the resale market for single-game Brooklyn Nets tickets, because it eliminates Dynasty’s

         competition in that market and gives Dynasty power to dictate prices to individual consumers.

                                   AS AND FOR A FIRST CAUSE OF ACTION
                                           (Declaratory Judgment)

                 39.     S4K repeats and re-alleges each and every allegation contained in the above

         paragraphs as if fully set forth herein.

                 40.     As set forth herein, a bona fide justiciable and substantial controversy exists

         concerning whether Defendant’s course of conduct violates ACAL § 25.30.

                 41.     The parties herein have adverse legal interests as to both present and prospective

         obligations.

                 42.     A declaratory judgment would serve the useful purpose of clarifying and settling

         the legal issues.

                 43.     A declaratory judgment would finalize the controversy and offer relief from

         uncertainty.

                 44.     Accordingly, S4K is entitled to a judgment declaring that Defendant’s course of

         conduct violates ACAL § 25.30.




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                                 AS AND FOR A SECOND CAUSE OF ACTION
                                             (Injunctive Relief)

                 45.     S4K repeats and re-alleges each and every allegation contained in the above

         paragraphs as if fully set forth herein.

                 46.     It is essential that injunctive relief be granted: (i) enjoining and restraining

         Defendant from unlawfully terminating individuals’ Memberships in violation of the ACAL; and

         (ii) compelling Defendant to reinstate those Memberships that it has unlawfully terminated.

                 47.     Defendant’s conduct has caused and continues to cause irreparable harm to

         Brooklyn Nets season ticket holders and to S4K because those season tickets are unique, limited,

         and cannot be replaced.

                 48.     Absent injunctive relief, Defendant is likely to continue to violate the ACAL by

         terminating individuals’ Memberships to prevent those individuals from exercising their right

         pursuant to the ACAL to re-sell their tickets.

                 49.     The granting of injunctive relief imposes no hardship on Defendant because it

         merely requires Defendant to comply with the statutory protections of the ACAL.

                 50.     S4K is further entitled to injunctive relief pursuant to ACAL § 25.33, which

         confers a private right of action for, inter alia, injunctive relief for violations thereof.

                 51.     S4K has no adequate remedy at law with respect to Defendant’s continued

         violation of the ACAL.

                                 AS AND FOR A THIRD CAUSE OF ACTION
                       (Violation of New York Arts & Cultural Affairs Law § 25.30(1)(A))

                 52.     S4K repeats and re-alleges each and every allegation contained in the above

         paragraphs as if fully set forth herein.




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                 53.     Defendant’s pattern and practice of terminating individuals’ Memberships in order

         to prevent them from exercising their rights to re-sell certain of their tickets to S4K violates the

         letter and spirit of the ACAL as set forth more fully above.

                 54.     Defendant’s pattern and practice is an attempt to empower Defendant with the

         discretion to terminate and/or not renew any Membership on the basis that the individual

         associated with the Membership is a re-seller and/or uses the services of a re-seller, which is

         precisely what the ACAL prohibits.

                 55.     Rather than comply with the protections afforded re-sellers pursuant to the ACAL,

         Defendant is instead attempting to prevent any re-sale of Brooklyn Nets tickets other than by

         Dynasty.

                 56.     To accomplish its goal, Defendant is severely limiting S4K’s supply of Brooklyn

         Nets tickets and seeks to eliminate S4K (and other re-sellers) from the marketplace altogether.

                 57.     By doing so, Defendant is gutting the protections of the ACAL and is impeding the

         “free and open marketplace” for ticket re-selling that the New York State Legislature intended to

         protect and foster by the passage of the ACAL.

                 58.     Accordingly, S4K is entitled to injunctive relief and monetary damages pursuant to

         ACAL § 25.33.

                 59.     S4K is also entitled to recover reasonable attorneys’ fees pursuant to ACAL

         § 25.33.

                                AS AND FOR A FOURTH CAUSE OF ACTION
                        (Tortious Interference with Advantageous Business Relationship)

                 60.     S4K repeats and re-alleges each and every allegation contained in the above

         paragraphs as if fully set forth herein.




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                61.     S4K had business relationships with the individual season ticket holders whose

         Memberships Defendant unlawfully terminated. Namely, S4K purchased tickets from and/or sold

         tickets on behalf of those individuals.

                62.     Defendant knew of those relationships, and indeed, sought to punish those

         individuals who exercised their right under New York law to re-sell tickets to or through S4K, by

         terminating those individuals’ Memberships.

                63.     By terminating the Memberships of individuals who have a business relationship

         with S4K, which effectively put Brooklyn Nets season ticket holders on notice that selling their

         tickets to or through S4K could jeopardize their Memberships, Defendant intentionally interfered

         with those business relationships.

                64.     Defendant’s wrongful conduct was conducted with the specific intention of

         interfering with S4K’s relationships with season ticket holders, as well as S4K’s relationships with

         its customers and prospective customers. But for Defendant’s interference, S4K would not have

         suffered such injuries.

                65.     Defendant’s interference was through improper means, i.e., unlawful conduct

         designed to prevent season ticket holders from exercising their rights under New York law to re-

         sell their Brooklyn Nets tickets.

                66.     Defendant’s interference caused injury to S4K’s business relationships with not

         only those individual season ticket holders whose Memberships were terminated, but also with

         other individual season ticket holders, customers, and prospective customers, in an amount to be

         determined at trial.




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                                   AS AND FOR A FIFTH CAUSE OF ACTION
                            (Antitrust – Sherman Act § 1 – Unlawful Restraint of Trade)

                    67.   S4K repeats and re-alleges each and every allegation contained in the above

         paragraphs as if fully set forth herein.

                    68.   Defendant has unreasonably restrained trade through a series of coordinated

         agreements and acts to limit competition in the market for sale of Brooklyn Nets tickets.

                    69.   Defendant’s agreements and acts, which show a conscious commitment to a

         common scheme, include: (i) Defendant’s actions to terminate or threaten to terminate the

         Memberships of season ticket holders who exercise their rights to re-sell their tickets to anyone

         “linked to multiple accounts,” including licensed ticket brokers, and (ii) Defendant’s sale of

         thousands of Brooklyn Nets tickets per game to Dynasty, with the knowledge and intent that

         those tickets would be re-sold by Dynasty.

                    70.   Defendant’s acts are being undertaken with the common design to exclude and

         eliminate competition in the market for Brooklyn Nets tickets, and for the purpose of controlling

         the supply and prices thereof in all markets, including the resale market.

                    71.   As a result of Defendant’s acts, competition in the market for Brooklyn Nets tickets

         has been diminished and/or eliminated, which has had the effect of raising prices for Brooklyn

         Nets tickets.

                    72.   There are no legitimate business justifications or efficiencies for Defendant’s

         coordinated agreements and acts that would counterbalance their demonstrated anticompetitive

         effects.

                    73.   Defendant’s acts constitute violations of Section 1 of the Sherman Act, 15 U.S.C. §

         1, per se, under a “quick look” standard, and under the rule of reason.




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                 74.     S4K has been harmed by Defendant’s anticompetitive conduct in an amount to be

         determined at trial, and which amount is subject to trebling pursuant to 15 U.S.C. § 15(a).

                                   AS AND FOR AN SIXTH CAUSE OF ACTION
                              (Antitrust – Sherman Act § 2 – Conspiracy to Monopolize)

                 75.     S4K repeats and re-alleges each and every allegation contained in the above

         paragraphs as if fully set forth herein.

                 76.     Defendant’s conduct in foreclosing competition in the market for Brooklyn Nets

         tickets constitutes a conspiracy to monopolize that market in violation of Section 2 of the Sherman

         Act, 15 U.S.C. § 2.

                 77.     To foreclose competition in the market for Brooklyn Nets tickets, Defendant has

         engaged in efforts to (i) ensure that Dynasty has monopolistic power over the resale of Brooklyn

         Nets tickets; and (ii) preclude competitor ticket brokers, including S4K, from competing with

         Dynasty by, inter alia, preventing Brooklyn Nets season ticket holders from exercising their right

         to re-sell their tickets to licensed ticket brokers. Defendant has willfully, knowingly, and with

         specific intent to do so, conspired to monopolize the markets for Brooklyn Nets tickets, including

         the resale market.

                 78.     If Defendant’s exclusionary conduct is allowed to continue, there is a dangerous

         likelihood that it, along with Dynasty, will monopolize the markets for Brooklyn Nets tickets,

         including the resale market.

                 79.     There are no legitimate efficiency benefits that counterbalance the demonstrated

         anticompetitive effects of these overt acts, including their foreclosure of competition in the market

         for Brooklyn Nets tickets.




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                 80.     As a result of Defendant’s violation of Section 2 of the Sherman Act, S4K has been

         harmed by Defendant’s anticompetitive conduct in an amount to be determined at trial, which is

         subject to trebling pursuant to 15 U.S.C. § 15(a).

                                AS AND FOR A SEVENTH CAUSE OF ACTION
                            (Antitrust – Sherman Act § 2 – Attempted Monopolization)

                 81.     S4K repeats and re-alleges each and every allegation contained in the above

         paragraphs as if fully set forth herein.

                 82.     Defendant’s conduct in foreclosing competition in the market for Brooklyn Nets

         tickets constitutes an attempt to monopolize that market in violation of Section 2 of the Sherman

         Act, 15 U.S.C. § 2.

                 83.     To foreclose competition in the market for Brooklyn Nets tickets, Defendant has

         engaged in efforts to (i) ensure that Dynasty has monopolistic power over the resale of Brooklyn

         Nets tickets; and (ii) preclude competitor ticket brokers, including S4K, from competing with

         Dynasty by, inter alia, preventing Brooklyn Nets season ticket holders from exercising their right

         to re-sell their tickets to licensed ticket brokers. Defendant has willfully, knowingly, and with

         specific intent to do so, conspired to monopolize the market for Brooklyn Nets tickets.

                 84.     If Defendant’s exclusionary conduct is allowed to continue, there is a dangerous

         likelihood that it, along with Dynasty, will monopolize the markets for Brooklyn Nets tickets,

         including the resale market.

                 85.     There are no legitimate efficiency benefits that counterbalance the demonstrated

         anticompetitive effects of these overt acts, including their foreclosure of competition in the market

         for Brooklyn Nets tickets.




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                 86.     As a result of Defendant’s violation of Section 2 of the Sherman Act, S4K has been

         harmed by Defendant’s anticompetitive conduct in an amount to be determined at trial, which is

         subject to trebling pursuant to 15 U.S.C. § 15(a).

                                 AS AND FOR AN EIGHTH CAUSE OF ACTION
                                          (Antitrust – Donnelly Act)

                 87.     S4K repeats and re-alleges each and every allegation contained in the above

         paragraphs as if fully set forth herein.

                 88.     Defendant’s coordinated efforts to foreclose competition in the markets for

         Brooklyn Nets tickets, including the resale market, constitute a violation of the Donnelly Act, New

         York General Business Law § 340.

                 89.     Defendant’s acts, which show a conscious commitment to a common scheme,

         include: (i) Defendant’s actions to terminate or threaten to terminate the Memberships of season

         ticket holders who exercise their rights to re-sell their tickets to anyone “linked to multiple

         accounts,” including licensed ticket brokers, and (ii) Defendant’s sale of thousands of Brooklyn

         Nets tickets per game to Dynasty, with the knowledge and intent that those tickets be re-sold in

         the market for Brooklyn Nets tickets.

                 90.     Defendant’s coordinated agreements and acts are being undertaken to exclude and

         eliminate competition in the markets for Brooklyn Nets tickets, including the resale market, and

         for the purpose of controlling the supply and prices thereof.

                 91.     As a result of Defendant’s acts, competition in the market for Brooklyn Nets tickets

         has been diminished and/or eliminated, which has had the effect of raising prices for Brooklyn

         Nets tickets.




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                92.    There are no legitimate efficiency benefits that counterbalance the demonstrated

         anticompetitive effects of these overt acts, including their foreclosure of competition in the

         markets for Brooklyn Nets tickets.

                93.    As a result of Defendant’s violation of the Donnelly Act, S4K has been harmed by

         Defendant’s anticompetitive conduct in an amount to be determined at trial, which is subject to

         trebling pursuant to New York General Business Law § 340(5).

                WHEREFORE, S4K respectfully demands relief as follows:

                       a. On the First Cause of Action, a declaratory judgment that Defendant, in
                          terminating season ticket holders’ Memberships so as to prevent them from
                          exercising their resale rights under the ACAL, is in violation of the ACAL.

                       b. On the Second Cause of Action, an order: (i) enjoining and restraining
                          Defendant from unlawfully terminating individuals’ Memberships in an effort
                          to prevent those individuals exercising their resale rights under the ACAL; and
                          (ii) compelling Defendant to reinstate those Memberships that it has unlawfully
                          terminated.

                       c. On the Third Cause of Action for violation of the ACAL, a money judgment
                          against Defendant in an amount to be determined at trial, as well as S4K’s
                          attorney’s fees pursuant to ACAL § 25.33.

                       d. On the Fourth Cause of Action for tortious interference with advantageous
                          business relationship, a money judgment against Defendant in an amount to be
                          determined at trial.

                       e. On the Fifth Cause of Action, a money judgment against Defendant in an
                          amount to be determined at trial, which amount is subject to trebling.

                       f. On the Sixth Cause of Action, a money judgment against Defendant in an
                          amount to be determined at trial, which amount is subject to trebling.

                       g. On the Seventh Cause of Action, a money judgment against Defendant in an
                          amount to be determined at trial, which amount is subject to trebling.

                       h. On the Eighth Cause of Action, a money judgment against Defendant in an
                          amount to be determined at trial, which amount is subject to trebling.

                       i. An award of S4K’s reasonable attorneys’ fees, costs, and expenses incurred in
                          connection with this action and any other post-Judgment collection efforts, to
                          the extent not already awarded; and



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